Case 8:19-bl<-00169-l\/|GW Doc 13 Filed 02/07/19 Page 1 of 2

Fill in this information to identify your case:

. OlW .
Debmr 1 Curtis atkins

 

First blame Middle Nsmu

Debtor 2

 

lSpouse. l1' mingi Fim uan Missis name

United States Bankruptcy Court ior the Middle Distriot of Florida

Casenumber S:19-bk-00169
(ii known)

 

m Cheok if this is an
amended filing

 

Officia| Form 108

Statement of intention for individuals Filing Under Chapter 7 wis

 

lf you are an individual filing under chapter T, you must fill out this form lf:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not explred.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier. unless the court extends the time for ceuse. You must also send copies to the creditors and lessors you list on the forrn.

if two married people are filing together ln a]olnt case, both are equally responsible for supplying correct lnformatlon.

Both debtors must sign and date the form.

Be as complete and accurate as possible. |f more space ls needed. attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

List ¥our Creditors Who Have Secured Ciaims

 

1. For any creditors that you listed in Part 1 of Schedule D: Credi‘tors Who Have Claims Secured by Propeny (Oftlcial Forrn 1060), fll| in the

lnfom'iatlon below.

identify the creditor and the property that ls coileteral

What do you intend to do with the property that Did you claim the property

 

 

 

 

 

secures a debt? as exempt on Schedule C?
gar;<`:le|t:or s Deutshe Bank! N_Al l:l Surrender the property. ,_ No
l l _ l:l Retain the property and redeem it. “_ Yes
Descn:non of 918 Rlcigeland Lane m Retain me property and enter into a
ro e 1 .
lrss)ec¢i)irin)g(; debt: Reaffrrmation Agreement.
E"Retain the property and [explain}: b
m c moe\ F\wt)»sn
Creditor's m Surrender the property. k NO
name: _
l:] Retain the property and redeem it. Yes
. . f
E;;;r:.:):on o Ci Retain the property and enter into a
gewan debt Heaffi'rmati'on Agreement.
§ Retain the property and [explain]:
Credit°"$ m Surrender the property m No
namel ___
_ l:l Retain the property and redeem it. Yes
:;Sp;":;mn Of m Retain the property and enter into a
securing debt Reaffirmati`on Agreement.
m Retain the property and [exp|ain]:
Credit°"$ m Surrender the property. No
name: _
` L_..l Retain the property and redeem it. Yes

Description of

property
securing debt:

Off'lcial Forrn 105

l:'_'l Retain the property and enter into a
Heaffirmarion Agreement.

n Retain the property and [explain]:

 

Statement of lntentlon for individuals Flllng Under Chapter T page ‘l

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Deb!or CUnlS O- Wa\kl"$ Case number (lflcnownl 8'1 9'bk_001 69

 

 

Llst ¥our unexpired Personai Property Leases

 

For any unexpired personal property lease that you listed in Scheduie G: Execuiory Contracts and Unexpired i.eases (Ofticlal Form 1066),
fill in the infonnatlon below. Do not list real estate ieases. Unexpired leases are leases that are still |n effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

Desortbe your unexpired personal property losses Wlll the-lease be'aslumed?

Lessors namet ' No
_ Yes

Description of leased

property:

Lessors namer - 6 No

Description of leased ¥es

Df°i`-l€l'¥y'-

Lessor‘s name: No

Description of leased j Yes

property;

Lessor's name: '_ No
_ ¥es

Description of leased

property:

Lessor's namet 4 No
4 Yes

Description of leased

pmer

Lessor's name'. j No

Yes

Description oi leased

property:

Lessor's name: _ No

"fes

Desoriptiori of leased
property:

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

 

X ls/ Curlis O. Watkins X
Slgnature of Debtor 1 Signature of Debtor 2
mate 02/07/2019 Date
MM.' DD l VYYY MM.l DDi YYYY

Oiliciai Forrn 108 Statement of intention for individuals Fliing Under Chapter T page 2

